Case 17-10177-mdc            Doc 37
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                            LOCAL BANKRUPTCY FORM 9014-3
                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Felecia N. Harcum
                                  Debtor(s)                                           CHAPTER 13

U.S. BANK NATIONAL ASSOCIATION (TRUSTEE
FOR THE PENNSYLVANIA HOUSING FINANCE
AGENCY)
                       Movant                                                     NO. 17-10177 MDC
            vs.

Felecia N. Harcum
                                  Debtor(s)
                                                                                  11 U.S.C. Section 362
William C. Miller Esq.
                                  Trustee

                             NOTICE OF MOTION, RESPONSE DEADLINE
                                      AND HEARING DATE


         U.S. BANK NATIONAL ASSOCIATION (TRUSTEE FOR THE PENNSYLVANIA HOUSING
 FINANCE AGENCY) has filed a Motion for Relief from Stay, with the court for Relief from the Automatic
 Stay of Section 362.

         Your rights may be affected. You should read these papers carefully and discuss them with
 your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish
 to consult an attorney.)

       1.      If you do not want the court to grant the relief sought in the motion, then on or before
 March 12, 2019 you or your attorney must do all of the following:
               (a)      file an answer explaining your position at:
                                 United States Bankruptcy Court
                                   Robert N.C. Nix Building
                                 900 Market Street, Suite 400
                                 Philadelphia, PA 19107-4299

 If you mail your answer to the bankruptcy clerk's office for filing, you must mail it early enough so that it will
 be received on or before the date stated above; and
                  (b)      mail a copy to movant's attorney:
                                    Kevin G. McDonald, Esquire
                                    Rebecca A. Solarz, Esquire
                                    KML Law Group, P.C.
                                    Suite 5000 – BNY Mellon Independence Center
                                    701 Market Street
                                    Philadelphia, PA 19106-1532

          2.      If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b) above and
 attend the hearing, the court may enter an order granting the relief requested in the motion.

        3.       A hearing on the motion is scheduled to be held before the Honorable Magdeline D.
 Coleman, the United States Bankruptcy Judge, in Courtroom 2 at the United States Bankruptcy Court, Robert
 N.C. Nix Building, 900 Market Street, Suite 400, Philadelphia, Pa. 19107-4299 on March 26, 2019, at
 10:30am, or as soon thereafter as counsel can be heard, to consider the motion.
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         4.      If a copy of the motion is not enclosed, a copy of the motion will be provided to you if you
request a copy from the attorney named in paragraph 1(b).

        5.      You may contact the Bankruptcy Clerk's office at 215-408-2800 to find out whether the
hearing has been canceled because no one filed an answer.

                                                       /s/ Kevin G. McDonald, Esquire
                                                       Kevin G. McDonald, Esquire
                                                       Rebecca A. Solarz, Esquire
                                                       KML Law Group, P.C.
                                                       BNY Mellon Independence Center
                                                       701 Market Street, Suite 5000
                                                       Philadelphia, PA 19106
                                                       Phone: (215)-627-1322
                                                       Attorneys for Movant/Applicant

February 25, 2019
